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Short Case Title                                                                               ;-(
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 OR
 Check all of the following that apply, include date of the proceeding,
 This is to order a tran-sctipt of the following proceedings: trBail Hearing                                                                     AUo 1 82020
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                                                                                                                                             CAROL L. MICHEL
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Other            not listed above:
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PART    II.
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court reporter on date of filing transcript in the District Court. 'fhi.* completed form is to                                                         of Appeals.)

          l'his is to certifo that the transclipt has been completed and filed at the District Coult today

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